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 NOT FOR PUBLICATION

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                            :
 MING YANG, individually and on behalf of all
                                            :
 others similarly situated,                 :
                                            :          Civil Case No. 14-3538 (FSH)
                  Plaintiff,                :
                                            :
         v.                                 :
                                            :
 TIBET PHARMACEUTICALS, INC., et al.,       :
                                            :
                 Defendants.                :
                                            :
                                            :
 ROBIN JOACHIM DARTELL, individually and on :
 behalf of all others similarly situated,   :
                                            :          Civil Case No. 14-3620 (FSH)
                  Plaintiff,                :          (LEAD)
                                            :
         v.                                 :          OPINION & ORDER
                                            :
 TIBET PHARMACEUTICALS, INC., et al.,       :          Date: February 20, 2015
                                            :
                 Defendants.                :
                                            :

 HOCHBERG, District Judge:

        This matter comes before the Court upon four motions to dismiss by Defendants Hayden

 Zou (“Zou”) (Dkt. No. 96), Acquavella, Chiarelli, Shuster, Berkower & Co., LLP (“ACSB”)

 (Dkt. No. 101), Sterne Agee Group, Inc. (“SAG”) (Dkt. No. 102), and L. McCarthy Downs III

 (“Downs”) (Dkt. No. 104) in the two above-captioned matters. 1 The Court has reviewed the

 submissions of the parties and considers the motion pursuant to Federal Rule of Civil Procedure

 78.
 1
  The Court uses docket numbers from Civil Action No. 14-3620, the lead case in this matter.
 Zou, SAG, and Downs are named in both matters. ACSB is a named defendant in Civil Action
 No. 14-3620 only.
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        I.      BACKGROUND 2

        On January 24, 2011, Defendant Anderson & Strudwick (“A&S”) served as the

 underwriter of Tibet’s initial public offering and sold $16.5 million of Tibet common stock to

 investors using an allegedly false and misleading initial offering prospectus that “misrepresented

 Tibet as a financially sound and profitable company.” (Am. Compl. ¶ 2.) Plaintiffs allege that,

 months prior, a Chinese had court entered a $4.54 million judgment against Tibet and that, on

 January 10, 2011, the Chinese court entered an order permitting a bank to seize all of Tibet’s

 operating assets. The value of Tibet’s stock ultimately dropped to zero. In December 2011, SAG

 “acquired A&S and assumed all of the assets and liabilities of A&S.” (Am. Compl. ¶ 33.)

        Defendants Zou and Downs were A&S’s designated observers to Tibet’s board of

 directors in connection with the IPO. Plaintiffs allege that Downs was also A&S’s managing

 director and one of the lead investment bankers who orchestrated Tibet’s IPO. Plaintiffs allege

 that Zou is the sole director of China Tibetan, Tibet’s Hong Kong subsidiary, and has total

 control over Tibet’s IPO proceeds.

        ACSB is a certified public accountant and advisory firm and was Tibet’s independent

 registered public accounting firm. ACSB provided an audit opinion in Tibet’s registration

 statement and prospectus for the IPO.

        Plaintiffs allege that Tibet’s registration statement and prospectus contained false

 statements of material fact and omitted to state material facts about Tibet and its financial

 condition. Specifically, Plaintiffs allege that the registration statement and prospectus overstated

 Tibet’s assets, misrepresented its indebtedness, and failed to disclose a series of adverse court

 judgments.


 2
   These facts are taken from Plaintiffs’ amended complaint (Dkt. No. 50), unless otherwise
 noted.
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         Neither the registration statement, which became effective December 28, 2010, nor the

 final prospectus, filed on January 18, 2011, disclosed the actions of the Chinese court or the

 effect on Tibet’s finances.

         Plaintiffs allege that all, or substantially all, of the net proceeds from the IPO are

 deposited in China Tibetan’s HSBC bank account in Hong Kong.

         II.     STANDARD OF REVIEW

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 129 S.

 Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); see also

 Phillips v. County of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) (“[S]tating . . . a claim requires

 a complaint with enough factual matter (taken as true) to suggest the required element. This does

 not impose a probability requirement at the pleading stage, but instead simply calls for enough

 facts to raise a reasonable expectation that discovery will reveal evidence of the necessary

 element.” (citations omitted)).

         When considering a motion to dismiss under Iqbal, the Court must conduct a two-part

 analysis. “First, the factual and legal elements of a claim should be separated. The District Court

 must accept all of the complaint’s well-pleaded facts as true, but may disregard any legal

 conclusions. Second, a District Court must then determine whether the facts alleged in the

 complaint are sufficient to show that the plaintiff has a plausible claim for relief.” Fowler v.

 UPMC Shadyside, 578 F.3d 203, 210–11 (3d Cir. 2009) (citations omitted). “A pleading that

 offers labels and conclusions or a formulaic recitation of the elements of a cause of action will

 not do. Nor does a complaint suffice if it tenders naked assertions devoid of further factual

 enhancement.” Iqbal, 129 S. Ct. at 1949 (citations omitted).



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        “As a general matter, a district court ruling on a motion to dismiss may not consider

 matters extraneous to the pleadings. However, an exception to the general rule is that a

 ‘document integral to or explicitly relied upon in the complaint’ may be considered ‘without

 converting the motion [to dismiss] into one for summary judgment.’” In re Burlington Coat

 Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) (citations omitted). On a motion to

 dismiss, the Court may also take judicial notice of the record from a previous court proceeding

 involving the parties. Toscano v. Conn. Gen. Life Ins. Co., 288 F. App’x 36, 38 (3d Cir. 2008).

        III.    DISCUSSION

        Defendants move to dismiss Plaintiffs’ claims on a variety of grounds. The Court

 addresses each of Defendants’ motions in turn.

                a. Defendant SAG

        SAG moves to dismiss Plaintiffs’ claims on the argument that Plaintiffs have failed to

 allege that SAG assumed liability for A&S’s role in the Tibet IPO. The general rule of corporate

 successor liability holds that a purchaser of a corporation’s assets “does not assume the liabilities

 of the seller merely by buying its assets.” Berg Chilling Sys., Inc. v. Hull Corp., 435 F.3d 455,

 464 (3d Cir. 2006); see also Colman v. Fisher–Price, Inc., 954 F. Supp. 835, 838 (D.N.J. 1996)

 (same) (citing Ramirez v. Amsted Indus., Inc., 431 A.2d 811, 815 (1981)). The general rule

 against liability admits four limited exceptions: (1) when the purchaser expressly or implicitly

 agrees to assume the other company’s debts and obligations; (2) when the purchase is a de facto

 consolidation or merger; (3) when the purchaser is a mere continuation of the seller; or (4) when

 the transfer of assets is for the fraudulent purpose of escaping liability. Phila. Elec. Co. v.

 Hercules, Inc., 762 F.2d 303, 308–09 (3d Cir. 1985).




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        SAG contends that Plaintiffs’ complaint fails to allege facts under which one of these

 four exceptions would apply. The complaint alleges only that SAG “acquired A&S and assumed

 all of the assets and liabilities of A&S.” (Am. Compl. ¶ 33.) Although this allegation is

 contested, 3 this Court accepts it as true on a motion to dismiss. Accepting that SAG purchased all

 of the assets of A&S and assumed its liabilities raises “a reasonable expectation” that discovery

 may reveal additional evidence to find that SAG may be liable for A&S’s actions in the IPO

 under the exceptions for a de facto merger or mere continuation. See Phillips v. County of

 Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,

 570 (2007)). Moreover, this Court is not persuaded that the cases cited by SAG would counsel

 for dismissal on this ground. For example, in Westfield, LLC v. IPC, Inc., the court dismissed the

 plaintiffs’ claim because the plaintiffs pled only that the defendant purchased the assets of the

 prior corporation but failed to plead that the defendant “assumed the debts and liabilities” of the

 corporation—an allegation that Plaintiffs here have made. 816 F. Supp. 2d 745, 751 (E.D. Mo.

 2011). For these reasons, SAG’s motion to dismiss is denied.

                b. Defendant ACSB’s Motion to Dismiss

        ACSB makes a number of arguments to attack Plaintiffs’ claims against it. At this early

 stage in litigation, the Court finds ACSB’s arguments unavailing and denies its motion to

 dismiss.




 3
   SAG points to the purchase agreement as evidence that SAG purchased only a portion of
 A&S’s assets and assumed none of A&S’s liabilities. Nonetheless, as Plaintiffs argue, the de
 facto merger inquiry does not resolve purely on the agreement itself but looks to additional
 evidence not yet before the Court. Berg Chilling Sys. Inc. v. Hull Corp., 435 F.3d 455, 465 (3d
 Cir. 2006). Plaintiffs, too, in their opposition briefing cite to evidence outside of the complaint to
 contend that SAG assumed the liabilities of A&S under the fact-specific inquiries of the de facto
 merger or mere continuation exceptions above. None of these factual issues are properly before
 the Court on a motion to dismiss and are better addressed following discovery.
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        Plaintiffs bring claims against ACSB under Section 11 of the Securities Act of 1933,

 which provides a private right of action when “any part of the registration statement, when such

 part became effective, contained an untrue statement of a material fact or omitted to state a

 material fact required to be stated therein or necessary to make the statements therein not

 misleading.” 15 U.S.C. § 77k(a). 4 To establish their Section 11 claim, Plaintiffs must show that

 Tibet’s registration statement “(1) contained an untrue statement of material fact; (2) omitted to

 state a material fact required to be stated therein; or (3) omitted to state a material fact ‘necessary

 to make the statements therein not misleading.” Cal. Pub. Employees Ret. Sys. v. Chubb Corp.,

 394 F.3d 126, 167 (3d Cir. 2004) (quoting 15 U.S.C. § 77k(a)). 5 Plaintiffs allege that Tibet’s

 financial statement materially misrepresented Tibet’s financial position, including stating that
 4
    ACSB attacks Plaintiffs standing to bring a Section 11 claim. This argument is plainly
 specious. The statute grants the right of action to “any person acquiring such security” of the
 stock offering (here, the IPO) made in connection with the misleading statements, such that
 Plaintiffs must demonstrate either having purchased stock directly in the IPO or that Plaintiffs’
 purchased stock can be traced to the IPO. 15 U.S.C. § 77k(a); see also In re FleetBoston Fin.
 Corp. Sec. Litig., 253 F.R.D. 315, 345 (D.N.J. 2008) (discussing tracing requirement). Plaintiffs
 allege that two named plaintiffs purchased stock on the IPO date and that additional shares
 purchased are traceable to the IPO as the IPO allegedly was the only stock offering conducted by
 Tibet. (Am. Compl. ¶¶ 17–18, 22.) “[W]hen the issuer made only one offering of securities, a
 simple exercise in logic connects all purchases of the issuer’s securities to that sole issuance.” In
 re FleetBoston Fin. Corp., 253 F.R.D. at 345. Alleging such purchases sufficiently establishes
 standing at the pleading stage; whether such shares are, in fact, traceable to the IPO is more
 properly resolved following discovery. See In re Suprema Specialties, Inc. Sec. Litig., 438 F.3d
 256, 274 n.7 (3d Cir. 2006).
 5
   ACSB further attacks Plaintiffs complaint by attempting to raise the affirmative defense of loss
 causation. Section 11 grants a defense to a defendant that can “prove[] that any portion or all of
 [Plaintiffs’] damages represents other than the depreciation in value of such security resulting
 from [misrepresentations] of the registration statement.” 15 U.S.C. § 77k(e)(3). The crux of
 Plaintiffs’ allegations is that Tibet was heavily indebted at the time of the IPO and that the
 financial filings certified by ACSB materially misrepresented Tibet’s financial position. Tibet’s
 stock price at the IPO was inflated as a result, then bottomed out as Tibet’s true financial position
 became public. Although ACSB may ultimately be able to raise a defense of loss causation, this
 Court does not find the defense apparent on the face of the complaint. See also In re Adams Golf,
 Inc. Sec. Litig., 381 F.3d 267, 277 (3d Cir. 2004) (“While a defendant may be able to prove this
 ‘negative causation’ theory, an affirmative defense may not be used to dismiss a plaintiff’s
 complaint under Rule 12(b)(6).”).

                                                   6
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 Tibet had $27 million in assets (including $8.3 million in cash) and that Tibet owed $3.65

 million on long-term loans as of September 30, 2010, when in fact Tibet had defaulted on a

 $4.54 million undisclosed loan and was on the verge of bankruptcy. (Am. Compl. ¶¶ 48–51.)

 Plaintiffs further allege that the defaulted loan was the subject of a legal dispute before a Chinese

 court during 2010 and that the court entered judgment against a Tibet subsidiary on September

 10, 2010. (Am. Compl. ¶¶ 52–56.)

        To be liable for a material misrepresentation or omission in a registration statement, a

 defendant must fit into one of five statutorily enumerated categories. See 15 U.S.C. § 77k(a).

 Plaintiffs allege that liability attaches to ACSB under the fourth category, which covers “every

 accountant, engineer, or appraiser, or any person whose profession gives authority to a statement

 made by him, who has with his consent been named as having prepared or certified any part of

 the registration statement, or as having prepared or certified any report or valuation which is used

 in connection with the registration statement, with respect to the statement in such registration

 statement, report, or valuation, which purports to have been prepared or certified by him.” 15

 U.S.C. § 77k(a)(4).

        ACSB argues that it cannot be held liable under Section 11 for the misrepresentations

 alleged above in the registration statement because an auditor may only be held liable for its own

 audit report—in other words, that Plaintiffs must allege that ACSB’s audit report itself contained

 material   misrepresentations.    Section   11,   however,     expressly   imposes     liability   for

 misrepresentations in the financial statement on auditors who “prepare[] or certify[]” the

 registration statement, and Plaintiffs have alleged that ACSB certified the financial statements.

 (Am. Compl. ¶¶ 38–39, 94.) Moreover, the two primary cases ACSB cites in support of this

 argument, Deephaven Private Placement Trading, Ltd. v. Grant Thornton & Co., 454 F.3d 1168



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 (10th Cir. 2006), and In re IKON Office Solutions, Inc., 277 F.3d 658 (3d Cir. 2002), both

 addressed auditor liability under other sections of securities law 6—Sections 18(a) and 10(b) of

 the Securities Exchange Act of 1934, respectively—neither of which imposes liability on

 auditors for certifying financial statements as Section 11 does. Even were the Court to accept

 ACSB’s argument, Plaintiffs have also alleged that ACSB’s audit report stated that it was

 “conducted . . . in accordance with the standards of the Public Company Accounting Oversight

 Board” and that this statement was materially and objectively false: the complaint alleges that

 ACSB failed to exercise such appropriate professional care and judgment—for example, that

 ACSB did not verify basic information within the financial statement against Tibet’s bank

 statements, lenders, regulatory filings, or public records. (Am. Compl. ¶¶ 94–103, 105, 107.) See

 also In re IKON Office Solutions, Inc., 277 F.3d at 673 (an auditor’s certification represents that

 it “exercised appropriate, not flawless, levels of professional care and judgment” (citations

 omitted)). In short, Plaintiffs have alleged material and objective 7 misrepresentations in

 sufficient detail to withstand a motion to dismiss.



 6
   In fact, the Deephaven court expressly noted that Section 11, unlike Section 18(a), imposes
 liability on accountants for certifying financial statements containing material
 misrepresentations. See Deephaven Private Placement Trading, 454 F.3d at 1174 n.6.
 7
   The Court is not persuaded by ACSB’s argument that Plaintiffs must allege subjective falsity.
 ACSB contends that subjective falsity requirement derives from holdings in Virginia
 Bankshares, Inc. v. Sandberg, 501 U.S. 1083 (1991), and In re Donald J. Trump Casino
 Securities Litigation, 7 F.3d 357 (3d Cir. 1993). Plaintiffs’ allegations, however, concern
 misrepresentations of fact regarding Tibet’s assets and debts and ACSB’s conduct relative to
 professional standards in performing its audit. Plaintiffs’ allegations do not concern “opinions,
 predictions [or] other forward-looking statements,” as at issue in Virginia Bankshares, Inc. and
 In re Donald J. Trump Casino. In re Trump Casino, 7 F.3d at 368–69. Such statements of “soft
 information” are not actionable misrepresentations unless the speaker does not genuinely and
 reasonably believe. See id. An opinion is not false unless it is not meant. But there is no
 analogous reason to read a subjective falsity requirement into misrepresentations of objective
 fact, as alleged here.

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                c. Defendants Zou and Downs’ Motions to Dismiss

        Defendants Zou and Downs both move to dismiss the claims against them on the

 argument that they are not proper Sections 11 or 15 defendants. 8 As noted above, Section 11(a)

 specifically enumerates five categories of potential defendants liable for misrepresentations in

 registration statements:

        (1) every person who signed the registration statement;

        (2) every person who was a director of (or person performing similar functions) or
        partner in the issuer at the time of the filing of the part of the registration
        statement with respect to which his liability is asserted;

        (3) every person who, with his consent, is named in the registration statement as
        being or about to become a director, person performing similar functions, or
        partner;

        (4) every accountant, engineer, or appraiser, or any person whose profession gives
        authority to a statement made by him, who has with his consent been named as
        having prepared or certified any part of the registration statement, or as having
        prepared or certified any report or valuation which is used in connection with the
        registration statement, with respect to the statement in such registration statement,
        report, or valuation, which purports to have been prepared or certified by him;

        (5) every underwriter with respect to such security.

 15 U.S.C. § 77k(a).

        Plaintiffs assert that they have alleged facts sufficient to state a claim against Downs as

 an underwriter under the fifth category. The Securities Act defines an “underwriter” as “any

 person who has purchased from an issuer with a view to, or offers or sells for an issuer in

 connection with, the distribution of any security, or participates or has a direct or indirect

 participation in any such undertaking, or participates or has a participation in the direct or

 indirect underwriting of any such undertaking.” 15 U.S.C. § 77(a)(11). Downs argues that,

 because the complaint alleges only that A&S functioned as underwriter for the Tibet IPO and

 8
   Because the underlying facts and legal standards are similar, the Court addresses both
 defendants’ motions concurrently, noting differences where relevant.
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  does not allege the same for Downs, that he cannot be held liable as an underwriter under Section

  11. Downs’s argument relies on too simplistic a reading of the complaint. Plaintiffs allege that

  Downs was a “Managing Director” of A&S and “one of the lead investment bankers who

  orchestrated Tibet’s IPO.” (Am. Compl. ¶ 35.) A&S, Plaintiffs allege, were underwriters in the

  Tibet IPO. (Id. ¶¶ 44–46, 73.) Additionally, Downs was listed in the registration statement and

  prospectus as an “observer” to the board of directors who may “significantly influence the

  outcome of matters submitted to the Board.” (Id. ¶ 35.) 9 Downs’ reliance on In re Lehman Bros.

  Mortgage-Backed Securities Litigation is also misplaced. As Plaintiffs note, that court addressed

  whether ratings agencies, who participated in the structuring of mortgage loan pools, were

  properly alleged as liable underwriters. The Second Circuit affirmed the district court’s finding

  that plaintiffs “failed to allege that defendants ‘participated in the relevant’ undertaking: that of

  purchasing securities from the issuer with a view towards distribution, or selling or offering

  securities for the issuer in connection with a distribution.” 650 F.3d 167, 182–83 (2d Cir. 2011).

  Plaintiffs’ allegations here, by contrast, suggest that Downs, in a position of control at A&S and

  a position of “significant[]” influence, if not control, at Tibet, was a primary actor in

  orchestrating A&S’ alleged underwriting of the Tibet IPO. In short, Plaintiffs have alleged that

  Downs participated in the underwriting. If these allegations cannot be borne out by the evidence,

  they will assuredly be dismissed at a later stage.

         Plaintiffs assert that they have alleged facts sufficient to state a claim against Zou as a

  “person performing similar functions” as a director under the second category. The complaint

  alleges that Zou, like Downs, was listed in the registration statement and prospectus as an
  9
    In briefing, Plaintiffs also assert that Downs was the signatory to Escrow and Placement
  Agreements and wrote to the SEC to request acceleration of effectiveness of the Tibet
  Registration Statement. (Pls.’s Opp. Br. at 14.) These facts were not alleged in the complaint and
  are not properly before the Court on a motion to dismiss; their relevance and probity are properly
  addressed following discovery.
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  “observer” to the board of directors who may “significantly influence the outcome of matters

  submitted to the Board.” (Am. Compl. ¶ 36.) Zou was also alleged to be the sole director of

  Tibet’s wholly owned Hong Kong subsidiary, China Tibetan. (Id.) The Court is not persuaded by

  Plaintiffs’ argument that a director of a subsidiary corporation is analogously functioning as a

  director of the parent as in In re Unicapital Corp. Securities Litigation where the court found that

  an individual named in registration statement as a soon-to-be director of a division of a company

  was a proper Section 11 defendant. 10 149 F. Supp. 2d 1353, 1366–67 (S.D. Fla. 2001). A

  subsidiary is a legally distinct entity and not liable for the actions of its parent corporation. See In

  re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 341 n.44 (3d Cir. 2010). However, here,

  Plaintiffs have alleged that the subsidiary has played a key role in harboring proceeds from the

  IPO by detailing the typical process by which monies from an international IPO are transferred

  into China and citing statements from Tibet’s SEC filings that plausibly imply that China Tibetan

  (under the sole control of Zou) possesses the proceeds from the IPO. (Am. Compl. ¶¶ 72–82.)

  These allegations, coupled with the naming of Zou in the registration statement and prospectus

  as an individual with “significant[] influence” over the Board, including the allegation that Zou

  was paid as any other board member, (Am. Compl. ¶ 36), plausibly allege that Zou’s role at

  Tibet was more akin to director than passive observer. Given these allegations, that he did not

  have voting power is not enough to dismiss the claims against him at this early stage of

  litigation. 11


  10
    In addition, the Unicapital Corp. court addressed liability not under category two, as here, but
  category three—every person who, with his consent, is named in the registration statement as
  being or about to become a director, person performing similar functions, or partner. In re
  Unicapital Corp., 149 F. Supp. 2d at 1366–67.
  11
    The Court also declines to dismiss Plaintiffs’ Section 15 claims against Downs and Zou at this
  time. “Section 15 of the Securities Act provides for joint and several liability on the part of one
  who controls a violator of Section 11 . . .. [T]he plaintiff must prove that one person controlled
                                                    11
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         IV.     CONCLUSION & ORDER

         For the reasons stated above,

         IT IS on this 20th day of February, 2015,

         ORDERED that SAG’s motion to dismiss (Dkt. No. 102) is DENIED; and it is further

         ORDERED that ACSB’s motion to dismiss (Dkt. No. 101) is DENIED; and it is further

         ORDERED that Zou’s motion to dismiss (Dkt. No. 96) is DENIED; and it is further

         ORDERED that Downs’ motion to dismiss (Dkt. No. 104) is DENIED.



                                                       IT IS SO ORDERED.



                                                        /s/ Hon. Faith S. Hochberg
                                                       Hon. Faith S. Hochberg, U.S.D.J.




  another person or entity and that the controlled person or entity committed a primary violation of
  the securities law.” In re Suprema Specialties, Inc. Sec. Litig., 438 F.3d 256, 284 (3d Cir. 2006).
  The plaintiff’s allegations must be that the defendant “culpably participated” in the primary
  wrong, not merely that the defendant was in a position of control. Rochez Bros. Inc. v. Rhoades,
  527 F.2d 880, 883–86 (3d Cir. 1975). For the reasons above, this Court finds that the complaint
  sufficiently alleges facts to plausibly state Section 15 claims against Downs and Zou given
  each’s authority within A&S and Tibet, respectively.

                                                  12
